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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO


  YAW TWUM-BAAH
  Plaintiff                   CIVIL 16-2485CCC
  Vs
  UNITED STATES DEPARTMENT OF
  AGRICULTURE
  Defendant



                           OPINION AND ORDER


      Plaintiff Yaw Twum-Baah (“Twum-Baah”), appearing pro se, filed this

action against the United States Department of Agriculture (“USDA”) and

United States Forest Service officers Aymat Verdejo, Derek Ortiz, and

Christina Henderson in their official capacity (together with the USDA, the

“Federal defendants”) after numerous skirmishes with them at El Yunque

National Forest (“El Yunque”). Before the Court is the Federal Defendants’

Memorandum of Law in Support of their Motion to Dismiss (d.e. 13) filed on

May 19, 2017, arguing plaintiff’s claims should be dismissed for lack of subject

matter jurisdiction and for failing to state a claim, and Twum-Baah’s

Opposition Memorandum to Defendants’ Motion to Dismiss (d.e. 18) filed on
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August 4, 2017. For the reasons set forth below, the Federal defendants’

motion is GRANTED.

                              BACKGROUND

     Twum-Baah is a representative of the Waroyal Ministry who took his

congregation to El Yunque as part of their worship. Together with his wife

Selene Cardenas, he also started the tourism company Yotumba Tours, which

offered guided tours in El Yunque.

     In his amended complaint, Twum-Baah alleges that the Federal

defendants conspired with the Tourism Company of Puerto Rico to persecute

him for assembling his congregation to worship within El Yunque and/or

provide tours in his capacity as a guide for Yotumba Tours. As part of this

supposed conspiracy, Twum-Baah lists confrontations he had with the

aforementioned USDA officials from April 2015 to April 2016.         Although

Twum-Baah asserts that the Federal defendants initiated these encounters

without probable cause, the Federal defendants issued violation notices

against him for infringing certain National Forest System regulations listed in

36 C.F.R. 261.10.

     The Federal defendants understood that plaintiff used the premise of

El Yunque without obtaining a special use authorization as required under
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36 C.F.R. §§ 251.50(a), 261.10(k). Aggrieved by what he considered to be

a governmental campaign against him, Twum-Baah filed an administrative

complaint of discrimination with the USDA Office of the Assistant Secretary

for Civil Rights on February 28, 2016.     Twum-Baah went through great

lengths to provide detailed accounts of his encounters with the Federal

defendants, but the Office dismissed his complaint because Twum-Baah

concurrently filed identical claims in previous suits before this Court.

Believing he had exhausted his administrative remedies, Twum-Baah

commenced the instant suit on August 15, 2016 for alleged violations of his

constitutional rights under the 1st Amendment and for claims sounding in tort.

On May 19, 2017, the Federal defendants moved to dismiss the complaint,

arguing that the United States has not waived its immunity for 1st Amendment

claims, that Twum-Baah has not fulfilled the administrative requirements to

bring some of his tort claims under the FTCA, that the statute of limitations

had run on others, and that he had failed to state a claim for harassment.

     Twum-Baah filed a Motion to Amend his Complaint (d.e. 19) on

August 4, 2017, which is GRANTED, the tendered amended complaint is

authorized.   It elaborates on the formation of the alleged governmental

conspiracy, clarifies his claims are mostly based in tort, expounds on the
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damages he suffered, and arguably adds a claim of racial or ethnic

discrimination. Since the amended complaint was filed three months after

the motion to dismiss, the Federal defendants did not address the last of these

potential claims.       But because the rest of the claims in the amended

complaint are identical to those asserted in the original complaint, the Court

has considered the Federal defendants’ arguments for dismissal in its

analysis.

                         RELEVANT LEGAL STANDARDS

 I.      Fed. R. Civ. P. 12(b)(1) and 12(b)(6)
      A motion to dismiss is used to evaluate the legal sufficiency of the plaintiff’s

complaint, not to test the merits of the underlying claims. When considering

a motion to dismiss, the Court “must construe the complaint liberally, treating

all well-pleaded facts as true and indulging all reasonable inferences in favor

of the plaintiff.” Aversa v. United States, 99 F.3d 1200, 1210 (1st Cir. 1996).

Given that Twum-Baah is a pro se litigant, the Court construes his pleadings

more liberally and holds him to a less stringent standard than would apply to

the average lawyer. See Velez-Villaran v. Carico Int'l, Inc., 715 F. Supp. 2d

250, 252 (D.P.R. 2010).
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   “A defendant may, in response to an initial pleading, file a motion to dismiss

the complaint for lack of jurisdiction over subject matter and for failure to state

a claim upon which relief can be granted.         See Fed. R. Civ. P. 12(b)(1)

and 12(b)(6), respectively.” Fernandez Molinary v. Industrias La Famosa, Inc.,

203 F. Supp. 2d 111, 113–14 (D.P.R. 2002). “When faced with motions to

dismiss under both 12(b)(1) and 12(b)(6), a district court, absent good reason

to do otherwise, should ordinarily decide the 12(b)(1) motion first.”

Rosario-Gonzalez v. Seguros Multiples, No. CIV. 13-1079 JAF, 2013 WL

4045740, at *1 (D.P.R. Aug. 7, 2013), aff'd (June 11, 2014) (citing Northeast

Erectors Ass'n of BTEA v. Secretary of Labor, Occupational Safety & Health

Admin., 62 F.3d 37 (1st Cir. 1995)). “It is not simply formalistic to decide the

jurisdictional issue when the case would be dismissed in any event for failure

to state a claim. Different consequences flow from dismissals under 12(b)(1)

and 12(b)(6): for example, dismissal under the former, not being on the merits,

is without res judicata effect.” Id. (citing Northeast Erectors, 62 F.3d at 39).

   “If the Court determines that subject matter jurisdiction does not exist it

must dismiss the case and not make any determination on the merits of the

case.” Fernandez Molinary, 203F. Supp. 2d at 114 (referring to Menendez v.

United States, 67 F.Supp.2d 42, 45 (D.P.R.1999)). As the party invoking this
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Court’s jurisdiction, Twum-Baah bears the burden of proving subject matter

jurisdiction exists.   See Murphy v. U.S., 45 F.3d 520, 522 (1st Cir. 1995).

When evaluating a motion to dismiss for lack of subject matter jurisdiction

under Rule 12(b)(1), “the court may consider documents outside the

pleadings, such as exhibits and affidavits attached to the motion to dismiss,

and the opposition.” Mercado Arocho v. United States, 455 F. Supp. 2d 15,

17 (D.P.R. 2006).

   “To survive a motion to dismiss [under Rule 12(b)(6)], a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief

that is plausible on its face.’ A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.         The plausibility

standard is not akin to a ‘probability requirement,’ but it asks for more than a

sheer possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal,

556 U.S. 662, 678, 129 S.Ct. 1937, 1949, 173 L.Ed. 2d 868 (2009) (citing

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed. 2d

929 (2007)). “In assessing a claim's plausibility, the court must construe the

complaint in the plaintiff's favor, accept all non-conclusory allegations as true,

and draw any reasonable inferences in favor of plaintiff.” Rosario-Gonzalez,
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2013 WL 4045740, at *2 (referring to San Geronimo Caribe Project, Inc. v.

Acevedo-Vila, 687 F.3d 465, 471 (1st Cir. 2012)).

   As opposed to motions to dismiss under Rule 12(b)(1), when defendant

moves to dismiss under Rule 12(b)(6), the court's “[c]onsideration is limited to

the complaint, written instruments that are attached to the complaint as

exhibits, statements or documents that are incorporated in the complaint by

reference, and documents on which the complaint heavily relies… [t]he court

should not consider any other documents or pleadings, except for the

complaint, to determine jurisdiction.” Mercado Arocho, 455 F. Supp. 2d at 19.

 II.     Sovereign Immunity of Federal Agencies and their officials
   The doctrine of sovereign immunity bars all lawsuits against the United

States and federal agencies like the USDA unless Congress has consented

to the action. See F.D.I.C. v. Meyer, 510 U.S. 471, 475, 114 S.Ct. 996, 1000,

127 L.Ed. 2d 308 (1994) (stating: “[a]bsent a waiver, sovereign immunity

shields the Federal Government and its agencies from suit”); see also

Blackmar v. Guerre, 342 U.S. 512, 515, 72 S.Ct. 410, 96 L.Ed. 534 (1952)

(showing the USDA enjoys this protection). Congress’s waiver of sovereign

immunity must be expressed unequivocally in a statute. See generally

Dolan v. U.S. Postal Service, 546 U.S. 481, 126 S.Ct. 1252, 163 L.Ed. 2d
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1079 (2006).        The waiver of sovereign immunity should be narrowly

construed in favor of the United States. See United States v. Nordic Village,

Inc., 503 U.S. 30, 33-34, 112 S.Ct. 1011, 117 L.Ed. 2d 181 (1992).

   Because federal agencies cannot be sued absent congressional approval,

those who feel they have been injured by agency employees must recur to

the Federal Tort Claims Act (FTCA). 28 U.S.C. §§ 1346(b), 2671 et seq.

The FTCA “provides a limited congressional waiver of the sovereign immunity

of the United States for torts committed by federal employees acting within

the scope of their employment.” Suren-Millan v. United States, 38 F. Supp. 3d

208, 218–19 (D.P.R. 2013) (citing Santoni v. Potter, 369 F.3d 594, 602

(1st Cir. 2004)).    Under the FTCA, the federal government waives its

sovereign immunity for torts “‘caused by the negligent or wrongful act or

omission of any employee of the Government while acting within the scope of

his office or employment, under circumstances where the United States, if a

private person, would be liable to the claimant in accordance with the law of

the place where the act or omission occurred.’” Solis–Alarcón v. United

States, 662 F.3d 577, 582 (1st Cir. 2011).

   For claims alleging federal officers have violated their constitutional rights,

potential plaintiffs can sue them in an individual capacity by filing a Bivens
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claim. See generally Bivens v. Six Unknown Named Agents, 403 U.S. 388

(1971). However, the Supreme Court has recognized that plaintiffs have a

right to assert Bivens claims to recover damages for violations of only certain

constitutional rights. See Id., recognizing a right to sue for Fourth Amendment

violations; Davis v. Passman, 442 U.S. 228, 99 S.Ct. 2264, 60 L.Ed.2d 846

(1979), recognizing a right to sue for Fifth Amendment violations under the

principle of equal protection; Carlos v. Green, 446 U.S. 14 (1980), recognizing

a right to sue under Eight Amendment’s prohibition against cruel and unusual

punishment; but see Bush v. Lucas, 462 U.S. 367, 103 S.Ct. 2404, 76 L.Ed.2d

648 (1983), denying a right to sue for retaliation under the First Amendment.

In fact, during the past thirty years the Supreme Court has typically denied

requests “to extend Bivens liability to any new context or new category of

defendants.”      Corr.       Servs.    Corp.   v.   Malesko,   534 U.S. 61, 68,

122 S.Ct. 515, 520, 151 L.Ed. 2d 456 (2001).

                                       DISCUSSION

   Ascribing to the aforementioned legal standards, the Court first addresses

the claims found to lack subject matter jurisdiction before addressing those

that fail to state a claim.
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 I.     Under the Federal Tort Claims Act (“FTCA”)
      Twum-Baah’s amended complaint is a flawed attempt to sue the USDA

and the Forest Service officers. Under the FTCA, sovereign immunity is only

waived where the United States of America, not an agency or employee, is

named as the defendant. See McCloskey v. Mueller, 446 F.3d 262

(1st Cir. 2006) (holding a claim that Federal Bureau of Investigation (FBI) and

its employees were negligent in failing to respond to alleged perpetrator's offer

to turn himself in on prior charges, made day before killing, was required to

be brought against United States, under FTCA provision precluding tort suits

against individual agencies). 28 U.S.C.A. § 1346(b). See also Spinale v.

U.S. Dep't of Agric., 621 F. Supp. 2d 112, 116 (S.D.N.Y.), aff'd sub nom.

Spinale v. U.S. Dep't of Agr., 356 F. App'x 465 (2d Cir. 2009) (discussing the

USDA’s sovereign immunity and stating “the United States, and its agencies,

have not waived sovereign immunity for intentional tort claims under the

FTCA”). For this reason alone, Twum-Baah’s tort claims against the Federal

defendants would be dismissed for lack of subject matter jurisdiction.

      Nonetheless, the Court owes him a more favorable reading of the amended

complaint given his status as a pro se plaintiff.     In so doing, it analyzes
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Twum-Baah’s allegations as if he asserted FTCA claims properly against the

United States. Under a liberal reading of his amended complaint, the Court

can surmise Twum-Baah assertion of the following torts: 1. false arrest and/or

malicious prosecution (see d.e. 19-1, ¶¶ 2, 3, 4, 5, 6, 8 for references to

apprehensions “without probable cause or evidence [of] illegal activity,”

“handing me a violation for illegal activity,” “disgracefully given another

violation ticket ... without probable cause,” “handed me another violation ticket

for illegal activity without probable cause,” and “ gave me the final ticket …

without probable cause,” and “chased me … again without probable cause”);

2. abuse of process (see Id., ¶ 5 stating “what an abuse of power … without

probable cause); 3. harassment (see Id., ¶¶ 3, 8, 14 for references to “decided

to [h]arass my activities to a halt,” “again … I was harassed,” “I was []recording

the entire harassment,” “I was again harassed and tailed while I was

working.”); 4. libel, slander or defamation (see Id., ¶¶ 3, 13 for references to

“disgracing me in front of my congregation as a fraud” and “[a] defamation

was made of the company and any association to Yaw Twum-Baah.”); and 5.

tortious interference with contractual rights (see I.d., ¶ 12 stating “[t]his van

belonged to Juan Laureano and until I had finished making payments for the

van, it legally belonged to him. Since I was the one using the van and I was
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presumed the owner, the van[’]s El Yunque privileges and permits were taken

away…”). In his opposition to the Federal defendants’ motion to dismiss, he

also clarifies that “[i]t Is under this provision, [the FTCA], that I plead my case

humbly to this Honorable court…” d.e. 18.

   However, in order to bring these FTCA claims against the United States, a

party must first follow certain procedural requirements. See 28 U.S.C. §

2675. Particularly relevant to the instant action is the prerequisite that a

potential plaintiff first file an administrative claim with the relevant federal

agency before suing the United States. 28 U.S.C. § 2675(a). For purposes

of the provisions of 28 U.S.C. 2675(a), “a claim shall be deemed to have been

presented when a Federal agency receives from a claimant ... an executed

Standard Form 95 or other written notification of an incident, accompanied by

a claim for money damages in a sum certain for injury to or loss of property,

personal injury, or death alleged to have occurred by reason of the incident.”

28 C.F.R. § 14.2(a).

   Twum-Baah filed an administrative claim with the USDA Office of the

Assistant Secretary for Civil Rights. After a careful review of this claim, the

Court finds it does not satisfy the administrative exhaustion requirement for

his potential FTCA claims against the Federal defendants.
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   First, the claim was filed with the wrong office. For alleged torts committed

by Forest Service employees while conducting their official duties,

Twum-Baah should have filed his claim with the Albuquerque Service

Center-Budget and Finance Director, the Forest Service’s official FTCA

claims officer, or at least with the USDA’s Office of the General Counsel,

authorized to consider or settle FTCA claims against the agency.           See

U.S. FOREST SERVICE, CLAIMS PROCESSING UNDER THE FEDERAL

TORT      CLAIMS      ACT     (FTCA)        QUESTIONS     AND      ANSWERS,

https://www.fs.usda.gov/Internet/FSE_DOCUMENTS/stelprdb5436568.pdf;

U.S. DEPARTMENT OF AGRICULTURE, RD Instruction 2042-A, Part 2042,

Subpart A, Section 2042.2.

   Second, Twum-Baah’s administrative complaint to the Office of the

Assistant Secretary for Civil Rights was for discrimination, not for tortious

conduct. See e.g. d.e. 19-2, p. 1 stating “I was [d]iscriminated by type of

Equal Pay, Harassment, National Original, Race/Color, Religion and

Retaliation.”   Under the most favorable reading of this administrative

complaint, it does not sufficiently notify the USDA of the aforementioned FTCA

claims. Proper notification of a claim is an important requirement that serves

the interest of the expeditious resolution of legitimate disputes citizens may
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have against the government.       See Furman v. U.S. Postal Service, 349

F.Supp.2d 553, 557 (E.D.N.Y. 2004) (stating “[t]he purpose of the exhaustion

requirement is to allow the government to investigate, evaluate and consider

settlement of a claim, in order to ease court congestion and avoid

unnecessary litigation, while making it possible for the Government to

expedite the fair settlement of tort claims asserted against the United States”).

Strict adherence to this requirement also ensures that the claim is evaluated

by the agency most familiar with the underlying events and helps both the

agency and the claimant avoid “expensive and time-consuming litigation when

possible.” Id.

   “It is well-settled First Circuit precedent that the timely filing of an

administrative claim is a jurisdictional pre-requisite to file suit under [the]

FTCA.” Ortiz-Rivera v. United States, 203 F. Supp. 3d 216, 219 (D.P.R. 2016)

(referring to González v. United States, 284 F.3d 281, 287 (1st Cir. 2002).

Having failed to satisfy this administrative requirement, Twum-Baah’s

potential FTCA claims are dismissed for lack of subject matter jurisdiction.

 II.   Bivens claim under the First Amendment
   Congress has not waived the USDA’s immunity for constitutional torts

either. See Spinale, 621 F.Supp.2d at 120. Any of Twum-Baah’s potential
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constitutional claims against the Federal defendants should thus be dismissed

for lack of subject matter jurisdiction since they were brought against the

agency. However, the Court again reads his amended complaint as if he

proceeded through the proper legal vehicle, in this case a Bivens claim

against the Forest Service officers in their individual capacities. See F.D.I.C.

v. Meyer, 510 U.S. 471, 484-85, 114 S.Ct. 996, 127 L.Ed.2d 308 (1994)

(finding that Bivens claims can only be brought against agency employees,

not the agency itself.)

   A liberal reading of plaintiff’s amended complaint suggests Twum-Baah

claims officers Verdejo, Ortiz, and Henderon violated his First Amendment

rights to freely exercise his religion and to peaceably assemble with the

Excursionist Association for El Yunque. U.S. Const. amend. I. See d.e. 19-1,

¶¶ 1, 3, 5, 9, 12 for references to “lawfully was exercising his religious

activities,” “interrupting my religious exercises,” “they asked me to leave the

park and discontinue my religious activities,” “I refused to be denied my

constitutional right to freedom to practice religion,” “I was operating a religious

exercise,” “threatened the president the possibility of losing other benefits …

if he continues to associate with me,” “she did not want [] anybody affiliated

with Yaw Twum-Baah working in the forest,” and “to not associate themselves
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to Yaw Twum-Bah.” In his opposition to the Federal defendants’ motion to

dismiss, he also clarifies that “this is a case that shows purpose, state of mind,

agenda and motive by the USDA … as a deliberate attack and infringement

of [p]laintiff’s rights to peacefully assemble and to express his religious views

and opinions.” d.e. 18.

   Nonetheless, the Court’s understanding of Bivens and subsequent

decisions by the Supreme Court compels it to find Bivens claims are not

available for violations of the First Amendment’s Free Exercise clause. In

Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009), the

Supreme Court stated that it has “declined to extend Bivens to a claim

sounding in the First Amendment.” Id. at 672. More recently, in Ziglar v.

Abbasi, 13 S.Ct. 1843, 1857, 198 L.Ed. 2d 290 (2017), the Supreme Court

reiterated that “expanding the Bivens remedy is now a ‘disfavored’ judicial

activity.” Id. at 1857. It explicitly stated that it “has refused to do so for the

past 30 years.” Id. Additionally, although the First Circuit has yet to decide

on this particular issue, the Second Circuit recently declined to recognize the

availability of a Bivens remedy for violations of the free exercise clause. See

Turkmen v. Hasty, 789 F.3d 218, 236 (2d Cir. 2015), judgment rev'd in part,

vacated in part sub nom. Ziglar v. Abbasi, 137 S.Ct. 1843, 198 L.Ed. 2d
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290 (2017).   This Court declines to expand Bivens claims to purported

violations of the Free Exercise clause.

   The Supreme Court’s disfavor of Bivens claims in new contexts also lends

support to our rejection of plaintiff’s claim for violations of the First

Amendment’s Assembly clause.

III.   Bivens claim under Equal Protection Clause of Fifth Amendment
   Finally, a liberal reading of Twum-Baah’s amended complaint suggests

that he charges the Forest Service officers of discriminating against him on

the base of his race or ethnicity, thereby denying him the equal protection of

the laws as required under the Fifth Amendment. See d.e. 19-1, p. 2, for

reference to “[f]ederal officers are not to retaliate or harass or discriminate

based on [], race, ethnicity ... Under the Equal Protection clause, it is their

responsibility to explain the law and rights I have to my accusers.”

   In Davis v. Passman, 442 U.S. 228 (1979), the Supreme Court held that a

claim for damages could be asserted against a federal official based upon an

alleged violation of the equal protection principles of the Fifth Amendment.

Consequently, Twum-Baah’s claim sounding in discrimination survives

dismissal on subject-matter jurisdiction grounds.
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   Nonetheless, he fails to state a cognizable claim for racial or ethnic

discrimination under the Fifth Amendment. The amended complaint does

not contain any statement made by Forest Service officers that reflect a

discriminatory animus for their confrontations with him. For example, his

claims of Officer’s Verdejo’s alleged discriminatory acts refer to discrimination

by Puerto Ricans against Dominicans, but not against him as an immigrant or

for his religious beliefs. See e.g., d.e. 19-1 stating: “[t]his has proof of racial

discrimination since most taxi drivers are Dominicans and it is generally

known throughout Puerto Rico that Puerto Ricans don’t like Dominicans.” In

his administrative complaint, he describes an incident on July 4, 2015 where

Officer Verdejo inspects the tints on his van’s windows and orders another

officer to issue him a ticket for having “more tints than the law requires.” d.e.

19-2, p. 9. Because the vehicle’s windows were tinted as purchased, Twum-

Baah alleges “[t]his is proof that A. Verdejo enjoys harassing me and hates

me as a black male that fails to be easy prey.” Id.            These conclusory

allegations of discrimination are insufficient to survive dismissal under Rule

12(b)(6). See Twombly, 550 U.S. at 555.
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  The Court thus finds that Twum-Baah has failed to state a claim of

discrimination and dismisses his Bivens claim for equal protection of the laws

under Rule 12(b)(6).

                               CONCLUSION

     Having carefully considered the amended complaint, even after reading

its allegations in the most favorable manner, the Court concludes that its

deficiencies preclude plaintiff from proceeding past the pleading stage. For

the reasons stated herein, the Federal defendants’ Motion to Dismiss,

supported by memorandum (d.e. 13), is GRANTED.

     Given the Court’s inclination to dismiss sua sponte the Bivens claim

under the Fifth Amendment, plaintiff is given the opportunity to argue against

its dismissal. See Chute v. Walker, 281 F.3d 314, 319 (1st Cir. 2002) stating

“[t]he general rule is that in limited circumstances, sua sponte dismissals of

complaints under Rule 12(b)(6) ... are appropriate, but that such dismissals

are erroneous unless the parties have been afforded notice and an

opportunity to amend the complaint or otherwise respond.”
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     Accordingly, plaintiff shall, no later than MARCH 23, 2018, state the

reasons why his Bivens claim under the Fifth Amendment should not be

dismissed.

     SO ORDERED.

     At San Juan, Puerto Rico, on March 12, 2018.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
